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MAX GERSHENOFF                                                                                     926 RXR Plaza
PARTNER                                                                                            Uniondale, NY 11556-0926
(516) 357-3444                                                                                     T 516.357.3000 F 516.357.3333
max.gershenoff@rivkin.com


                                                                     February 22, 2022

VIA ECF

Honorable Paul A. Engelmayer
United States District Court
Southern District of New York
40 Foley Square, Room 2201
New York, New York 10007

        Re:        Black v. Ganieva, et al., S.D.N.Y. Case No. 1:21-cv-08824

Dear Judge Engelmayer:

        I write on behalf of Defendant Wigdor LLP, jointly with counsel for Plaintiff Leon Black
and Defendants Guzel Ganieva, Joshua Harris, and Steven Rubenstein, pursuant to the Court’s
January 14, 2022 Order (ECF No. 39) and Rule 2(B) of the Court’s Individual Rules and Practices
to provide a description of the case and its status in advance of the telephonic conference scheduled
for February 25, 2022.

I.          DESCRIPTION OF THE CASE

        Mr. Black’s Amended Complaint (ECF No. 46) brings claims against Ms. Ganieva, Mr.
Harris, and Mr. Rubenstein for civil RICO and civil RICO conspiracy, asserting predicate acts of
extortion in violation of the Hobbs Act and mail and wire fraud. Mr. Black also brings a claim for
defamation per se against all Defendants, and claims for breach of contract and unjust enrichment
against Ms. Ganieva. Mr. Black alleges that his claims arise out of a conspiracy and enterprise by
Defendants to take down Mr. Black, first through an attempted coup by Mr. Harris to become the
CEO of the firm Mr. Black founded, and then, when that failed, an effort to retaliate against,
destroy, and extort from Mr. Black through fabricated state court litigation filed by Ms. Ganieva.

        All Defendants expect to move to dismiss the claims in the Amended Complaint, which --
among other things -- is the latest sanctionable attempt by Mr. Black to retaliate against Ms.
Ganieva and her counsel, Wigdor, after Ms. Ganeiva sued Mr. Black for sexual assault and
defamation in a first-filed, state court lawsuit. In fact, Wigdor has a pending motion for sanctions
against Mr. Black and his counsel based on the claims in Mr. Black’s initial Complaint (ECF No.

 66 South Pearl Street, 11th Floor   25 Main Street                       477 Madison Avenue                 2649 South Road
 Albany, NY 12207-1533               Court Plaza North, Suite 501         New York, NY 10022-5843            Poughkeepsie, NY 12601-6843
 T 518.462.3000 F 518.462.4199       Hackensack, NJ 07601-7082            T 212.455.9555 F 212.687.9044      T 845.473.8100 F 845.473.8777
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33), and, along with the other Defendants, reserves its right to seek appropriate sanctions based on
the claims in the Amended Complaint, as well. Mr. Black would oppose any such request, which
he submits would itself be frivolous, and would seek his costs of doing so.

II.      CONTEMPLATED MOTIONS

         i.        Plaintiff’s Position.

       Mr. Black does not presently intend to file motions in the immediate future. However,
depending on how the case proceeds, Mr. Black will file motions as and when appropriate,
including, inter alia, motions to compel discovery, motions for summary judgment, Daubert
motions, motions in limine, and/or motions for appropriate sanctions against Defendants.

         ii.       Defendants’ Position.

        As noted above, Defendants expect to move to dismiss the claims against them in the
Amended Complaint.1 Defendants also reserve their rights to seek appropriate sanctions based on
the claims in the Amended Complaint. To the extent that the Court does not otherwise stay
discovery, Defendants also expect to file a motion(s) to stay discovery in this action until their
anticipated motions to dismiss Plaintiff’s Amended Complaint are adjudicated.

III.     PROSPECT FOR SETTLEMENT

        The parties do not currently believe that there is a reasonable opportunity for settlement at
this stage.

IV.      DISCOVERY PENDING RESOLUTION OF MOTION TO DISMISS

         i.        Plaintiff’s Position.

         There is no reason to depart from the standard rule in federal court that a motion to dismiss
does not stay discovery. See In re Currency Conversion Fee Antitrust Litig., 2002 WL 88278, at
*1 (S.D.N.Y. Jan. 22, 2002) (“[I]mposition of a stay is not appropriate simply on the basis that a
motion to dismiss has been filed, as the Federal Rules make no such provision.”); Bookends &
Beginnings LLC v. Amazon.com, Inc., 2021 WL 5450236, at *2 (S.D.N.Y. Nov. 19, 2021) (noting
that “the issuance of a stay of discovery pending the outcome of a motion to dismiss is by no means
automatic,” and a stay should only be granted if the moving party meets its “burden of showing
good cause”); Weber v. McCormick, 2007 WL 9754633, at *2 (D. Conn. Apr. 24, 2007) (denying
motion to stay discovery pending a motion to dismiss a civil RICO complaint, noting that “a stay
of all discovery … would effectively impede the just and speedy administration of the progress of
this lawsuit, and “[t]he fact that … a potentially dispositive motion to dismiss” was filed “does not
in and of itself give rise to justification to warrant a stay”). Discovery should therefore proceed
while motions to dismiss are briefed and considered. There is no reason why discovery cannot

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  Plaintiff has consented to extend Mr. Harris’s deadline to respond to the Amended Complaint from March 3, 2022
to March 4, 2022 in order to align the briefing schedules of all defendants. Mr. Harris has not previously sought an
extension of this deadline.
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proceed expeditiously, especially since some of Defendants’ relevant documents should have
already been collected for discovery in the state court action.2 Moreover, pausing discovery while
Mr. Black responds to, and the Court considers, Defendants’ motions (which are again expected
to be lengthy and to involve complex issues) would cause unnecessary and undue delay to these
proceedings. Plaintiff also does not believe there is any need to take the unusual and unorthodox
step of further briefing this issue—an obvious attempt by Defendants to obtain a de facto discovery
delay while that briefing takes place. Attached as Exhibit 1 is the parties’ Proposed Civil Case
Management Plan and Scheduling Order setting forth the case deadlines the respective parties
believe are appropriate.

         ii.       Defendants’ Position.

         Discovery in this action should not proceed until Defendants’ anticipated motions to
dismiss the Amended Complaint are adjudicated. There is good cause for Defendants’ position: It
is clear from the record in this case that Plaintiff commenced this “RICO” and “defamation” action
in an improper attempt to interfere with Wigdor’s ability to represent Ms. Ganieva in her first-filed
state court action against Mr. Black, and to deflect negative attention away from himself and
toward Mr. Harris, his former business partner. Plaintiff alleges no credible facts to support his
scandalous and conclusory racketeering and defamation claims, which -- it bears emphasizing --
are asserted against, among others, his adversary and opposing counsel in a first-filed state court
action, and do not contain a single well-pleaded allegation establishing a connection between Ms.
Ganieva and Mr. Harris or Mr. Rubenstein. Rather, Plaintiff’s apparent goal is to try and conduct
a post-hoc search for some “evidence” to support his baseless claims, before Defendants file
motions to dismiss that will reveal the claims to be meritless. Defendants are prepared to move to
dismiss expeditiously, and contrary to Plaintiff’s assertions, such motions will be concise and
straightforward given the Amended Complaint’s multiple obvious pleading deficiencies. Plaintiff
will suffer no prejudice from a stay of discovery while these motions are pending. Courts have
broad “discretion to stay discovery ‘for good cause,’” Boelter v. Hearst Communs., Inc., 2016 U.S.
Dist. LEXIS 12322 (S.D.N.Y. 2016), and courts in this District, including this Court, routinely
stay discovery pending resolution of a motion to dismiss where, as here, “Plaintiffs’ claims [are]
in at least some doubt pending the resolution of the motions to dismiss, discovery is likely to be
broad, and the imposition of a stay would not unfairly prejudice the Plaintiffs.” Campanelli v.
Flagstar Bancorp, Inc., 2019 U.S. Dist. LEXIS 211740 at * 2 - * 3 (S.D.N.Y. 2019) (Engelmayer,
J.) (staying discovery pending disposition of a motion to dismiss). Indeed, a stay of discovery is
particularly appropriate in cases like this one that involve threadbare RICO claims. See Major,
Lindsey & Afr., LLC v. Mahn, 2010 U.S. Dist. LEXIS 94033, at *18 (S.D.N.Y. Sept. 7, 2010)
(describing court’s “unvarying practice” of staying discovery in RICO cases until the motions to
dismiss are decided given the court’s “ample experience with the assertion of bogus RICO
claims”).



2
   Wigdor has refused outright to produce documents or sit for a deposition in the state court action, and has taken the
position that the discovery sought from Wigdor there “relat[es] to [the] Federal Action,” not the state court case. For
their part, Wigdor and Ms. Ganieva note that Plaintiff does not specify to the Court the nature of the discovery he
seeks from Wigdor in Ms. Ganieva’s first-filed state court lawsuit, nor has he explained why he would be entitled to
the unidentified discovery in this case or in the state court action. Defendants look forward to addressing these issues
in greater length at the initial conference.
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       To the extent that the Court is inclined to consider permitting discovery to proceed during
the pendency of the motions to dismiss, Defendants respectfully request permission to submit
formal briefing on the issue.

         We appreciate the Court’s attention to this matter.

                                               Respectfully submitted,

                                               RIVKIN RADLER LLP
                                               /s/ Max Gershenoff
                                               Max Gershenoff
cc:      All counsel via ECF.




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